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                               IN THE UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                       Case No.: 17-cv-60426-UU

  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.,

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

    Defendants.
  ____________________________________/


        DEFENDANTS’ MOTION IN LIMINE NO. 9 TO EXCLUDE TESTIMONY ABOUT
            THE MEANING OF STATEMENTS AT ISSUE AND INCORPORATED
                            MEMORANDUM OF LAW
            Defendants BuzzFeed, Inc. and Ben Smith respectfully submit this motion in limine to
  exclude opinion testimony concerning the meaning of the statements at issue in this action.
                                     PRELIMINARY STATEMENT
            Plaintiffs’ plan for attempting to prove that the Dossier was false is now clear: they plan
  on calling witnesses to tell the jury what the Dossier means, and then insist that their version of
  the Dossier’s meaning is not true. But the jury does not need help from witnesses to interpret the
  Dossier, and evidence about its meaning should be excluded because it is irrelevant and amounts
  to inadmissible opinion evidence. And, even if the Court deems it marginally relevant, the
  evidence should be excluded because its probative value is outweighed by the danger of unfair
  prejudice.
                                              ARGUMENT
            As this Court knows, this case is about Defendants’ publication of the Dossier, and
  particularly the passage on page 35 that says:
            [REDACTED] reported that over the period March-September 2016 a company called
            XBT/Webzilla and its affiliates have been using botnets and porn traffic to transmit
            viruses, plant bugs, steal data and conduct “altering operations” against the Democratic
            Party leadership. Entities linked to one Alexei GUBAROV [sic.] were involved and he
            and another hacking expert, both recruited under duress by the FSB, Seva
            KAPSUGOVICH, were significant players in this operations.



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           Plaintiffs bear the burden of proving that the statements at issue were false. Phila.
  Newspapers, Inc. v. Hepps, 475 U.S. 767, 776 (1986). In order to determine this, of course, the
  jury must first decide what they mean. Defendants believe that the statements are substantially
  true if Plaintiffs’ servers and networks facilitated the malicious cyberactivity described in the
  Dossier, regardless of whether Plaintiffs themselves were at the keyboard initiating that activity.
  Plaintiffs’ strategy, however, seems clear – they intend to call witnesses to testify that the
  Dossier accuses them of “being Russian spies, committing serious crimes and attempting to
  undermine the 2016 United States Presidential Election,” Dkt. 253 at 2, and then attempt to show
  that not to be true. This has been borne out in Plaintiffs’ deposition testimony. For example, as
  discussed in Defendants’ Daubert motion seeking to exclude his evidence, Plaintiffs’ purported
  technical expert Dr. Eric Cole explicitly purports to define parts of the Dossier in his report. See
  Ex. 1 ¶¶ 53-54 (“Buzzfeed definitively printed ‘XBT/Webzilla and its affiliates had been using
  botnets and porn traffic to transmit viruses, plant bugs, steal data and conduct ‘altering
  operations’ against the Democratic Party leadership’[.] ‘Using’ means active action and/or
  application that is verifiable.’”); id. ¶ 56 (“The term ‘plant bugs’ typically refers to the covert or
  illegal installation of a physical listening device in a home or office and is not a term used when
  referring to digital operations which is regularly referred to as ‘spyware’”). And Dr. Cole
  acknowledged at his deposition that what he calls the “key point” of his report rests entirely on
  his belief that the Dossier says “that XBT itself undertook the bad acts.” Ex. 2 (Cole Dep.) at
  124:15-125:25.
           The same is true about Plaintiffs’ main fact witnesses. Aleksej Gubarev, Konstantyn
  Bezruchenko (XBT’s Chief Technology Officer), and Nick Dvas (XBT’s Chief Executive
  Officer) stated at their depositions that they know the allegations to be false – even without
  investigating them – because the Dossier accused them of personally hacking the Democratic
  leadership. See Ex. 3 (Gubarev Dep.) at 50:13-54:4 (stating that he knew Dossier was false
  because “dossier say that I’m personally and XBT hack democratic party servers. I know 100
  percent we don’t do it.”); Ex. 4 (Bezruchenko Dep.) at 294:17-295:6; 302:3-303:6 (stating that
  he knew the allegations were false without investigation because the Dossier “specifically said
  Aleksej Gubarev and XBT hack it,” and “we didn’t do it – it’s that simple.”); Ex. 5 (Dvas Dep.)
  at 268:16-23; 279:21-281:5 (stating that he was immediately “sure” that the Dossier’s allegations




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  were untrue, and “wasn’t interested” in whether Bezruchenko found any link between XBT
  client servers and Democratic Party hack.).
           The law is clear, though, that it is the role of the judge to determine whether the
  statements at issue are capable of defamatory meaning, and the role of the jury to determine how
  ordinary readers would actually understand the words. See, e.g., Levin v. McPhee, 119 F.3d 189,
  195 (2d Cir. 1997); Keller v. Miami Herald Publ’g Co., 778 F.2d 711, 714-15 (11th Cir. 1985).
  Testimony about meaning, whether from experts or laypeople, is inadmissible. This evidence is
  irrelevant to the jury’s task of assigning the words the natural meaning that would be given to
  them by reasonable people, and it amounts to inadmissible opinion evidence. And even if it were
  relevant, any limited probative value to this testimony is far outweighed by the serious danger of
  prejudice.
           First, testimony on meaning – whether from Dr. Cole or fact witnesses – should be
  excluded because the jury is perfectly capable of interpreting the Dossier for itself. Under both
  Florida and New York law, the trier of fact must interpret the words at issue “in the context of
  the entire statement or publication as a whole, tested against the understanding of the average
  reader,” Dillon v. City of N.Y., 261 A.D.2d 34, 38 (N.Y. App. Div. 1999), and must “give the
  language a natural reading rather than strain to read it as mildly as possible at one extreme, or to
  find defamatory innuendo on the other.” Weiner v. Doubleday & Co., 74 N.Y.2d 586, 592
  (1989); see also, e.g., Byrd v. Hustler Magazine, Inc., 433 So. 2d 593, 595 (Fla. 4th DCA 1983)
  (“The court must consider all the words used, not merely a particular phrase or sentence,” and
  “the trial court must evaluate the publication, not by ‘extremes,’ but as the common mind would
  naturally understand it.”) (citations omitted); Schiller v. Viacom, Inc., 2016 WL 9280239, at *8
  (S.D. Fla. Apr. 4, 2016) (Ungaro, J.) (“[T]he Court must examine how a reasonable and common
  mind would understand the statements, and it should not give the statements a tortured
  interpretation.”).
           New York and Florida courts both recognize that no one is better placed to “give the
  language a natural reading,” and determine “how a reasonable and common mind would
  understand the statements” at issue than the jury itself – and that testimony about how a
  particular witness understood the statements at issue is therefore irrelevant and inadmissible.
  See, e.g., Burdick v. Shearson Am. Express, Inc., 160 A.D.2d 642, 642-43 (N.Y. App. Div. 1990)
  (trial court did not err in striking testimony about witnesses’ “own, personal understanding of the


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  term ‘forgery’ as used by defendant,” because “[i]t was for the jury to determine whether the
  word ‘forgery’, when taken in its natural and ordinary meaning, was susceptible to a defamatory
  connotation.”); Levin v. McPhee, 917 F. Supp. 230, 238 n.7 (S.D.N.Y. 1996) (noting that “given
  that the issue with respect to defamatory meaning is the likely construction by proverbial
  reasonable person, the issue arguably is properly left to the trier of fact,” and citing cases
  excluding such evidence), aff’d, 119 F.3d 189 (2d Cir. 1997); Julian v. Am. Bus. Consultants,
  Inc., 2 N.Y.2d 1, 19 (1956) (“The direct questions put to a witness … were improper and the
  answers inadmissible as they sought the witness’ opinion that the publication attacked the
  plaintiff.”); Seropian v. Forman, 652 So. 2d 490, 498 (Fla. 4th DCA 1995) (trial judge
  committed “highly prejudicial error” by admitting expert evidence about meaning, because if
  statements at issue “conveyed the obloquy that plaintiff suggests, that fact should be readily
  understood by an ordinary jury without a political scientist swearing that it does.”).
           Because it is not helpful to the jury, such evidence is also inadmissible under the rules
  governing lay and expert opinion evidence. See Fed. R. Evid. 701 (lay opinion testimony
  inadmissible unless it would be “helpful to clearly understanding the witness’s testimony or to
  determining a fact in issue”); United States v. Frazier, 387 F.3d 1244, 1261 (11th Cir. 2004)
  (expert opinion evidence only admissible if it “assists the trier of fact, through the application of
  scientific, technical, or specialized expertise, to understand the evidence or to determine a fact in
  issue.”).
           Here, then, testimony about the meaning of the Dossier should be excluded as irrelevant
  and unhelpful to the jury. In fact, it is difficult to imagine anyone less qualified to help the jury
  understand how an ordinary person would understand the allegations in question – without
  “strain[ing] to find defamation ‘where none exists,’” Dillon, 261 A.D.2d at 38 – than Plaintiffs’
  witnesses. Dr. Cole never read the Dossier as a whole, Ex. 2 (Cole Dep.) at 8:20-25, meaning
  that his opinion will not help the jury consider BuzzFeed’s publication in its totality. And Mr.
  Gubarev and the two XBT executives have a vested interest in the outcome of this litigation.
  Even aside from their obvious bias, those three men are unable to give evidence as to how the
  Dossier was understood by the general public because they are not, and have never been,
  ordinary members of that public when it comes to the Dossier. Though XBT executives are free
  to jump to “extreme” conclusions of their own conclusions about what the Dossier meant, that is
  exactly what the jury is not supposed to do.


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           Second, even if it is marginally relevant, testimony by Plaintiffs’ witnesses about their
  opinions and personal understanding of the Dossier’s meaning is likely to cause significant
  prejudice and should be excluded under the balancing test of Federal Rule of Evidence 403,
  which permits the Court to “exclude relevant evidence if its probative value is substantially
  outweighed by a danger of one of more of the following: unfair prejudice, confusing the issues,
  misleading the jury, undue delay, wasting time, or needlessly presenting cumulative evidence.”
  Fed. R. Evid. 403. Because Plaintiffs’ chosen witnesses can offer the jury little meaningful
  insight into how the average person would have understood the Dossier, their testimony
  “transforms a common sense issue into a technical one” and is therefore “more apt to confuse
  than to enlighten, more unfairly prejudicial than probative.” World Boxing Council v. Cosell,
  715 F. Supp. 1259, 1264-65 (S.D.N.Y. 1989) (excluding expert evidence on meaning). Such
  evidence would also open the door to rebuttal evidence from Defendants about how other people
  did not share Plaintiffs’ witnesses’ interpretation of the Dossier. All of this testimony would be
  cumulative, confusing, and ultimately of little or no assistance to the jury’s determination based
  on its own review of the plain language of BuzzFeed’s article and the Dossier. This evidence
  should therefore be excluded.
                                                CONCLUSION
           For all these reasons, Defendants request that the Court exclude testimony concerning the
  meaning of the Dossier, or any statements at issue in this action.


  Dated: October 29, 2018                   Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

           I hereby certify that a true and correct copy of the foregoing, together with its exhibits,
  will be served electronically by email on all counsel or parties of record on the service list below
  this 29th day of October, 2018.



                                                  By: /s/ Adam Lazier
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